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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  CARMELO JOHN GIUFFRE,                               Civil Action No.

                   Plaintiff,                         16-1641 (MCA) (LDW)

  v.

  NORTH AMERICAN SPINE LLC et                         MEMORANDUM OPINION
  a!.,                                                AND ORDER

                 Defendants.




        Before the Court is a motion by defendant Athas Healthcare, LLC, doing business and

impleaded as North American Spine (“Athas”), to stay the claims of plaintiff Carmelo John Giuffre

against it.   (ECF No. 65).     Plaintiff opposes this motion (ECF Nos. 69, 90), and defendant

Hackensack Surgery Center, LLC (“Hackensack Surgery”) partially opposes it to the extent that

discovery relating to its cross-claim against Athas would be stayed (ECF No. 6$).          Having

considered the parties’ submissions, for the reasons set forth herein, and for good cause shown,

the motion is GRANTED as to Plaintiffs claims against Athas pending resolution of the action to

compel arbitration of Plaintiffs claims against Athas that is sub judice before the United States

District Court for the Northern District of Texas.



                                     I. Background and Motion

        Plaintiff commenced this action in the Superior Court of New Jersey, Bergen County, Law

Division, on February 22, 2016, alleging that spinal surgery he underwent on February 21, 2014

caused him injury.    (Cmplt., ECF No. 1-1).         His Complaint asserted claims against various
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defendants, each of whom had a role in the underlying treatment, for medical malpractice,

fraudulent misrepresentation, and detrimental reliance.’ (Id). On March 24, 2016, Athas removed

the action to this Court on diversity grounds. (ECF No. 1). Various other defendants have asserted

defense, contribution, and indemnity cross-claims against their co-defendants, including Athas.

(See ECF Nos. 37, 63, 64, 66, 73, 7$).

       The Court, by a September 1, 2016 Order, granted Athas leave to file a motion to stay this

proceeding in conjunction with a motion it represented it would file in the United States District

Court for the Northern District of Texas seeking to compel arbitration. (ECf No. 5$). Athas

shortly thereafter filed a motion to stay this matter pursuant to   §   3 of the federal Arbitration Act.

(ECF No. 65).

       Athas argues that this action should be stayed against it under the Federal Arbitration Act

because Plaintiffs claims against it purportedly fall within the scope of a clause of a contract

between it and Plaintiff requiring resolution of any disputes by binding arbitration before the

American Arbitration Association in Dallas, Texas. (See Br. in Supp., ECF No. 65-2). Athas

additionally takes the position that because the federal Arbitration Act requires a motion to compel

arbitration to be filed in the district in which compulsory arbitration is sought, this Court should

conduct only a threshold analysis of the arbitration clause’s enforceability, reserving a full

substantive analysis for adjudication in an action to compel arbitration before the United States

District Court for the Northern District of Texas. (ECF No. 65-2 at 13—14).

        Plaintiff opposes the stay motion, characterizing the contract containing the arbitration

clause as an unenforceable contract of adhesion, as procedurally and substantively unconscionable,



  Plaintiff filed a first Amended Complaint adding an additional doctor as a defendant on
September 20, 2016. (ECF No. 61). Plaintiffs amendments are immaterial to the Court’s
analysis of this motion.
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and as no longer effective under its own terms. (See Br. in Oppo., ECF No. 69). Hackensack

Surgery partially opposes the motion, objecting to any stay affecting its cross-claims pending

against Athas. (See Br. in Partial Oppo., ECf No. 6$).

        On february 1, 2017, Athas filed a complaint before the United States District Court for

the Northern District of Texas seeking an order compelling arbitration under         §   4 of the federal

Arbitration Act. Athas Health, LLC v. Giuffre, Civ. A. No. 17-300-L (N.D. Tex.).               Upon this

Court’s request that Plaintiff update its position on the stay in view of the recent filing of the action

to compel arbitration in Texas, Plaintiff filed an additional letter brief outlining his opposition to

the stay motion on February 10, 2017, which again argued that the arbitration clause in question

is ttnenforceable. (Letter Br., ECf No. 90).



                                               II. Analysis

        Athas, in seeking a stay under   § 3 of the federal Arbitration Act, asks the Court to conduct
what would amount to a preliminary analysis of a contractual clause that it contends requires

Plaintiff to arbitrate his claims against Athas. The enforceability of this clause is the central issue

in the action to compel arbitration that Athas recently filed in the Northern District of Texas.

Compi., Athas Health, LLC, Civ. A. No. 17-300-L, ECF No. 1 (N.D. Tex.).

        Addressing the parties’ arguments regarding the enforceability of the arbitration clause

would seemingly preempt the role of the Northern District of Texas in determining whether to

compel Plaintiff and Athas to resolve their dispute by arbitration.2 Making some preliminary




2
  Under the terms of § 4 of the federal Arbitration Act, only a judge in the Northern District of
Texas could compel the parties to arbitrate in Dallas, as Athas claims the arbitration clause
requires. See 9 U.S.C. § 4; Hautz Constr., LLC v. H & MDep ‘t Store, Civ. A. No. 12-3478
(fLW), 2012 WL 5880370, at *16_is (D.N.J. Nov. 20, 2012); Lester v. Gene Express, Inc., Civ.
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finding of enforceability, as Athas asks the Court to do, is not in this Court’s view appropriate

when the identical issue is now pending before the Northern District of Texas, which is the proper

Court to rule on the arbitrability of the claims between Plaintiff and Athas. Consequently, the

issue of granting a   §   3 stay is contingent on a finding of enforceability by the Northern District of

Texas.3

          Nevertheless, the Court may also stay a matter pursuant to its inherent power to manage its

docket. Landis v. N Am. Co., 299 U.S. 248, 254—55 (1936); Nicholas v. Wyndham Int’l, Inc., 149

F. App’x 79, $1 (3d Cir. 2005). A discretionary stay of the claims between Plaintiff and Athas

pending a decision by the Northern District of Texas is, in this Court’s view, eminently appropriate.



                                              Ill.    Conclusion

          For the reasons stated above, the motion by defendant Athas Healthcare, LLC, impleaded

as North American Spine, LLC, to stay Plaintiffs claims against it (ECF No. 65) is GRANTED

and the claims asserted by Plaintiff against Athas Healthcare, LLC are subject to a discretionary

stay pending resolution of the action Athas Healthcare LLC v. Giuffre, Civ. A. No. 1 7-300-L,

before the United States District Court for the Northern District of Texas; and

          Athas Healthcare, LLC shall notify the Court within five business days of any resolution

of or substantial event in the action Athas Healthcare LLC v. Giuffre, Civ. A. No. 17-300-L, before

the United States District Court for the Northern District of Texas; and




A. No. 09-403 (RBK), 2009 WL 3757155, at *6, * (D.N.J. Nov. 10, 2009); Josko v. New World
Sys. Coip., Civ. A. No. 05-4013 (RBK), 2006 WL 2524169, at *10 (D.N.J. Aug. 29, 2006).

   If the Northern District of Texas compels Plaintiff and Athas to arbitrate, it is clear that a   §   3
stay of Plaintiffs claims against Athas would be justified.
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       The Clerk of the Court shall terminate the motion filed as ECF No. 65.

       IT IS, on this 2nd day of March, 2017, SO ORDERED.




                                                    iion. Leda Dunn Weifre
                                                     United States Magistrate Judge

Original:     Clerk of the Court
      cc:     Hon. Madeline Cox Arleo, U.S.D.J.
              All Parties




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